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  1   David M. Neff, III, Bar. No. 6190202
      (pro hac vice to follow)
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      Amir Gamliel, Cal. Bar No. 268121
  3   AGamliel@perkinscoie.com
      PERKINS COIE LLP
  4   1888 Century Park E., Suite 1700
      Los Angeles, CA 90067-1721
  5   Telephone: 310.788.9900
      Facsimile: 310.788.3399
  6
      Attorneys for Secured Creditor
  7   Wells Fargo Bank, National Association, as Trustee
      for Morgan Stanley Capital I Trust 2016-UBS11,
  8   Commercial Mortgage Pass-through Certificates,
      Series 2016-UBS11, and on Behalf of the Holders of
  9   any Related Serviced Subordinate Companion Loan
      or Serviced Companion Loan
 10
                                     UNITED STATES BANKRUPTCY COURT
 11
                                     CENTRAL DISTRICT OF CALIFORNIA
 12
                                            SANTA ANA DIVISION
 13

 14

 15   In re                                             Case No. 8:21-BK-10958-ES

 16   PLAMEX INVESTMENT, LLC,
                                                        Chapter: 11
 17                            Debtor.
                                                        NOTICE OF APPEARANCE AND
 18                                                     REQUEST FOR SPECIAL NOTICE

 19

 20

 21
               PLEASE TAKE NOTICE that secured creditor Wells Fargo Bank, National Association,
 22
      as Trustee for Morgan Stanley Capital I Trust 2016-UBS11, Commercial Mortgage Pass-
 23
      through Certificates, Series 2016-UBS11, and on Behalf of the Holders of any Related Serviced
 24
      Subordinate Companion Loan or Serviced Companion Loan (the “Trust”) hereby appears and
 25
      under, inter alia, Bankruptcy Rules 2002, 9007, 9010 and Section 1109(b) of the Bankruptcy
 26
      Code, 11 U.S.C. § 1109(b), requests that all notices given or required to be given in this case,
 27
      and all papers served or required to be served in this case, be given to and served upon counsel
 28
                                                                 Notice of Appearance and Request for Special
      60642-1012/152169124.1
                                                                                                      Notice
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  1   for the Trust in the above-referenced case:
  2                            David M. Neff, III, Bar. No. 6190202
                               DNeff@perkinscoie.com
  3                            Amir Gamliel, Cal. Bar No. 268121
                               AGamliel@perkinscoie.com
  4
                               PERKINS COIE LLP
  5                            1888 Century Park East, Suite 1700
                               Los Angeles, CA 90067
  6                            Telephone: 310.788.9900
                               Facsimile: 310.788.3399
  7

  8            PLEASE TAKE FURTHER NOTICE that under Section 1109(b) of the Bankruptcy
  9   Code, this request includes not only the notices and papers referred to in the Bankruptcy Rules
 10   specified above, but also includes, without limitation, orders and notices of any application,
 11   motion, petition, pleading, request, complaint, or demand, whether formal or informal, whether
 12   written or oral, and whether transmitted or conveyed, by mail, courier service, hand-delivery,
 13   telephone, facsimile transmission, telegraph, telex, or otherwise (1) that affects or seeks to affect
 14   in any way any rights or interests of any creditor or party in interest in this case, including the
 15   Trust, with respect to: (a) the debtor; (b) property of the estate, or proceeds thereof, in which the
 16   debtor may claim an interest; or (c) property or proceeds thereof in the possession, custody, or
 17   control of others that the debtor may seek to use; or (2) that requires or seeks to require any act,
 18   delivery of any property, payment, or other conduct by the Trust.
 19            PLEASE TAKE FURTHER NOTICE that the Trust intends that neither this Entry of
 20   Appearance nor any later appearance, pleading, claim, or suit shall waive (1) the Trust’s right to
 21   have final orders in non-core matters entered only after de novo review by a District Judge,
 22   (2) the Trust’s right to trial by jury in any proceeding so triable in this case or any case, (3) the
 23   Trust’s right to have the District Court withdraw the reference in any matter subject to mandatory
 24   or discretionary withdrawal, or (4) any other rights, claims, actions, defenses, setoffs, or
 25   recoupments to which the Trust is or may be entitled under agreements, in law or in equity, all
 26   ///
 27   ///
 28
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  1   of which rights, claims, actions, defenses, setoffs, and recoupments the Trust expressly reserves,
  2   and (5) the Trust’s rights to dismiss or convert the within case.
  3

  4   DATED: April 15, 2021                                 PERKINS COIE LLP
  5
                                                            By: /s/ Amir Gamliel
  6                                                             Amir Gamliel, Bar No. 268121
                                                                AGamliel@perkinscoie.com
  7
                                                            Attorneys for Secured Creditor
  8                                                         Wells Fargo Bank, National Association, as
                                                            Trustee for Morgan Stanley Capital I Trust
  9                                                         2016-UBS11, Commercial Mortgage Pass-
                                                            through Certificates, Series 2016-UBS11, and
 10                                                         on Behalf of the Holders of any Related
                                                            Serviced Subordinate Companion Loan or
 11                                                         Serviced Companion Loan
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                                                                   Notice of Appearance and Request for Special
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  1   NOTE: When using this form to indicate service of a proposed order, DO NOT list any person or
      entity in Category I. Proposed orders do not generate an NEF because only orders that have been
  2   entered are placed on the CM/ECF docket.
  3                                  PROOF OF SERVICE OF DOCUMENT
  4   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
      business address is: 1888 Century Park East, Suite 1700, Los Angeles, California 90067
  5
      A true and correct copy of the foregoing document(s) described as
  6

  7      NOTICE OF APPEARANCE AND REQUEST FOR SPECIAL NOTICE
  8   will be served or was served (a) on the judge in chambers in the form and manner required by
      LBR 5005-2(d); and (b) in the manner indicated below:
  9
      I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)
 10   – Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing
      document will be served by the court via NEF and hyperlink to the document. On April 15, 2021,
 11   I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
      that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at
 12   the email address(es) indicated below:
 13            Service information continued on attached page
 14   II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or
      entity served):
 15   On ____________, I served the following person(s) and/or entity(ies) at the last known
      address(es) in this bankruptcy case or adversary proceeding by placing a true and correct copy
 16   thereof in a sealed envelope in the United States Mail, first class, postage prepaid, and/or with an
      overnight mail service addressed as follows. Listing the judge here constitutes a declaration that
 17   mailing to the judge will be completed no later than 24 hours after the document is filed.
 18            Service information continued on attached page
 19   III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL
      (indicate method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
 20   LBR, on _______________, I served the following person(s) and/or entity(ies) by personal
      delivery, or (for those who consented in writing to such service method), by facsimile
 21   transmission and/or email as follows. Listing the judge here constitutes a declaration that
      personal delivery on the judge will be completed no later than 24 hours after the document is
 22   filed.
 23            Service information continued on attached page
 24   I declare under penalty of perjury under the laws of the United States of America that the
      foregoing is true and correct.
 25
       April 15, 2021                Caroline Mallahi                 /s/ Caroline Mallahi
 26    Date                             Type Name                    Signature
 27

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                                                                 Notice of Appearance and Request for Special
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                                                                                                      Notice
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  1                                     ATTACHED SERVICE LIST
  2
              Ron Bender rb@lnbyb.com
  3           Nancy S Goldenberg nancy.goldenberg@usdoj.gov
  4
              Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
              Juliet Y Oh jyo@lnbrb.com, jyo@lnbrb.com
  5           Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com
              United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
  6

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